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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 CHROMADEX, INC. and TRUSTEES )
 OF DARTMOUTH COLLEGE,        )
                              )
                              )               C.A. No. 18-1434-CFC
              Plaintiffs,     )
                              )
     v.                       )
                              )
 ELYSIUM HEALTH, INC.,        )
                              )
              Defendant.

    LETTER BRIEF IN SUPPORT OF MOTION FOR LEAVE TO AMEND
                    INVALIDITY CONTENTIONS



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  Dated: September 11, 2000




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 Dear Judge Connolly,

        Defendant Elysium Health, Inc. (“Elysium”) respectfully seeks leave to
 amend its invalidity contentions (see Scheduling Order, D.I. 40 at ¶ 7) to assert one
 additional prior art reference. That reference, U.S. Patent No. 5,736,529, is a
 patent naming Dr. James David Adams as lead inventor (the “Adams patent”).

        Elysium’s request should be a non-controversial example of “recent
 discovery of material prior art despite earlier diligent search” that this Court
 identified as good cause for amendment. D.I. 40 at ¶ 7. Elysium conducted two
 prior art searches through the respected search firm Global Prior Art. It
 commissioned a search in 2017 for its IPR petition and again early this year when
 it was preparing Elysium’s invalidity contentions in this case.

        Despite these search efforts, Elysium first learned of the Adams patent
 during an interview of Dr. Adams himself this summer, which occurred after the
 service of Elysium’s invalidity contentions on May 29. Elysium reached out to Dr.
 Adams as a candidate to replace the expert Elysium used in the IPR proceedings,
 Dr. Joseph Baur. As explained below, Elysium’s need to replace Dr. Baur arose
 because ChromaDex’s Chief Scientific Advisor (and named inventor of the two
 asserted patents), Dr. Charles Brenner, used his professional connections to
 intimidate Dr. Baur and led Dr. Baur to decide that that he did not wish to
 participate in this case as a testifying expert.

 I.    Background

       A.     The Adams Patent
        The Adams patent (Ex. A) issued in 1998. It discloses and claims the
 administration of NAD-related compounds, particularly “nicotinamide
 ribonucleotide,” an NAD precursor closely related to nicotinamide riboside, to
 treat certain neural conditions. Ex. A at claims 1, 2. The Adams patent’s
 disclosure includes oral compositions containing NAD-related compounds. Id. at
 5:58-61.

       B.     Elysium’s Diligent Prior Art Searches
       Elysium sought institution of IPR proceedings against the patents-in-suit in
 July 2017. As part of that process, Elysium engaged the well-known search firm,
 Global Prior Art, to conduct a search for potential prior art. Apparently because
 the Adams patent refers to nicotinamide “ribonucleotide” rather than nicotinamide
 “riboside,” Global Prior Art did not identify it in that search. Elysium conducted a
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 second search through Global Prior Art in early 2020 while preparing its invalidity
 contentions. This search likewise did not uncover the Adams patent.

           C.     Elysium’s Search for a Replacement Expert and Subsequent
                  Identification of the Adams Patent
         For the IPR proceedings, Elysium had engaged Dr. Joseph Baur, a professor
 at the University of Pennsylvania, to provide expert testimony. In the summer of
 2019, after Dr. Baur’s IPR declaration became public, Dr. Brenner began using
 social media to denigrate Dr. Baur and to urge that Dr. Bauer be professionally
 ostracized in the scientific community for his participation as an expert witness for
 Elysium. On July 18, 2019, Dr. Brenner tweeted to his 20,000 followers that
 scientists supporting Elysium’s “legal challenges” to the patents “are still going to
 scientific meetings as though they are decent community members.” Ex. B at 3.
 On July 19, he tweeted that “scientists… trying to kill IP… can see their way out
 of this in 1 principled email.” Id. at 4. On August 3, he identified Dr. Baur by
 name in a tweet and suggested that Dr. Baur’s decision to testify was financially
 motivated. Dr. Brenner also hinted at his own behind-the-scenes efforts to disrupt
 Elysium’s efforts to retain an expert. He stated: “Disturbingly, they shopped for
 scientists to attest that Goldberger ‘isolated NR’ by making skim milk. At least 1
 terrific scientist I know refused. But Joseph Baur took the 💰.” Id. at 5. The next
 day, Dr. Brenner explicitly encouraged retribution: “We should expect ppl like
 Joseph Baur to correct the record or ppl should stop treating him like he is a
 member of the scientific community in good standing.” Id. at 6.

       On August 6, 2019, Elysium’s counsel, after learning of this conduct of
 ChromaDex’s Chief Scientific Advisor, wrote Plaintiffs’ counsel demanding that
 Dr. Brenner’s attempts to undermine the judicial process cease. Plaintiffs’ counsel
 agreed that Dr. Brenner’s conduct was improper and caused him to remove his
 tweets. But the damage was done. When Elysium spoke to Dr. Baur when it was
 preparing its invalidity contentions this spring, it became clear that Dr. Baur did
 not wish to serve as a testifying expert in this litigation. Thereafter, Elysium
 commenced a search for a new testifying expert.

        That process took time, given the pandemic and Dr. Brenner’s campaign to
 pollute the pool of potential experts. Eventually, Elysium identified Dr. Adams, a
 highly qualified expert in the field. In a preliminary interview on June 25, 2020,
 Dr. Adams brought to counsel’s attention his patent, identifying it as potentially
 relevant prior art. In a follow-up interview on August 13, 2020, Dr. Adams
 explained the close relationship between the nicotinamide ribonucleotide of his
 patent and the nicotinamide riboside of the Brenner patents. Shortly thereafter,
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 Elysium sought Plaintiffs’ consent to amend Elysium’s contentions to add the
 Adams patent. Plaintiffs refused, and this motion followed.

 II.          Elysium’s Motion for Leave to Amend Should Be Granted
        The Court’s scheduling order permits amendment of contentions on a
 “timely showing of good cause.” D.I. 40 at ¶ 7. The order recites that good cause
 can include “recent discovery of material prior art despite earlier diligent search.”
 Id. This is exactly that situation. The Adams patent is material prior art. It
 teaches a person skilled in the art that NAD precursor compounds can be orally
 administered to patients for a therapeutic effect. Ex. A at 5:58-61. Although it
 does not refer to “nicotinamide riboside” specifically, it refers to a related
 compound, “nicotinamide ribonucleotide.” Id. at claim 2. When combined with
 references (already disclosed in Elysium’s contentions) teaching that nicotinamide
 riboside is another of the NAD precursors, the Adams patent renders the asserted
 patents invalid as obvious. Elysium conducted diligent prior art searches through
 Global Prior Art but only later became aware of the Adams patent when it
 interviewed Dr. Adams as a candidate to replace Dr. Baur.

         There is no prejudice to Plaintiffs arising from the addition of a single
 reference authored by an expert who will testify in this case. Discovery is still in
 its early stages. No depositions have occurred and the parties are still collecting
 and producing documents. Expert discovery will not begin until early 2021. There
 is ample time for Plaintiffs to evaluate one additional prior art reference, about
 which they learned in August. In addition, Plaintiffs will have the opportunity to
 depose Dr. Adams. They doubtless will ask him about the subject matter of his
 patent even if it were not asserted as prior art. Thus, Elysium’s assertion of the
 Adams patent as prior art will not impose any additional discovery burdens.

         Finally, Elysium will suffer prejudice if supplementation is denied. Not only
 will it be prevented from raising a meritorious invalidity defense, ChromaDex will
 remain free to use the Adams patent itself in its deposition of Dr. Adams. Such an
 inequitable result would only reward Dr. Brenner’s unlawful witness intimidation
 and worsen the consequences of his misconduct. More generally, it would send the
 wrong message to litigants who employ extrajudicial scorched-earth tactics against
 witnesses who testify against them.

       For these reasons, Elysium respectfully requests that leave to amend be
 granted.



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                                             Respectfully,

                                             /s/ Andrew C. Mayo

                                             Andrew C. Mayo (#5207)



 ACM/nlm

 Attachments

 cc: All Counsel of Record (via electronic mail; w/attachments)




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